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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Dao Health
                                                      Plaintiff,
v.                                                                      Case No.:
                                                                        1:23−cv−04885
                                                                        Honorable Thomas
                                                                        M. Durkin
Shenzhen Lutejiacheng Technology Co., Ltd.
                                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 12, 2024:


        MINUTE entry before the Honorable Beth W. Jantz: This case has been referred to
Magistrate Judge Beth W. Jantz for discovery supervision. Plaintiff currently has a Motion
for Leave to File a Third Amended Complaint and Supplement its Infringement
Contentions [70] pending before the District Judge. An amended complaint might impact
the scope of the issues in Plaintiff's Motion to Compel [73], so the Motion [73] is
DENIED without prejudice to refiling after the District Judge's ruling and after the Parties
continue to meet and confer. Any renewed motion may not be filed without leave of the
Court. Additionally, Defendant's Motion to Modify the Joint Discovery Schedule and
Request for Status Conference [77] is GRANTED to the extent that the current discovery
deadlines are stricken pending the District Judge's ruling and Plaintiff's potential filing of
an amended complaint. For future reference, the Court will allow the Parties sufficient
time to conduct any discovery that flows out of an amended complaint and any re−filed
motion to compel. Requests to extend any non−discovery deadlines must be ruled on by
the District Judge. A status hearing is set for 10/9/24 at 11:00 a.m. To join the hearing by
phone, dial 1−650−479−3207 and enter access code 2308 182 1801. Entering an attendee
code is not required. Members of the public and media will be able to call in to listen to
this hearing. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice. (as, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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refer to it for additional information.
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